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IN THE UNITED STATES DISTRICT COURT |

FOR THE NORTHERN DISTRICT OF TEXASMN 22 2017
FORT WORTH DIVISION |

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UNITED STATES OF AMERICA <——

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Vv. Case No. 4:17-MJ- S007

NICHOLAS EVANS (01)
(a.k.a. “NICO”)

KENNETH SAULS (02)
(a.k.a. “SMURE”)

DARIEN JEFFERSON (03)
(a.k.a. “SMOKEB”)

CRIMINAL COMPLAINT

On or about April 9, 2017, in the Fort Worth Division of the Northern District of
Texas and elsewhere, Nicholas Evans (a.k.a. “Nico”), Kenneth Sauls (a.k.a.
“Smurf”), Darien Jefferson (a.k.a. “Smoke”), and others known and unknown
knowingly, intentionally, and unlawfully did combine, conspire, confederate, and
agree together and with each other, to commit certain offenses against the United
States, to-wit: interference with commerce by robbery, in violation of Title 18,
U.S.C. § 1951 (a).

I, Stephanie Phillips, a Task Force Officer (“TFO”) with the United States
Department of Justice, Federal Bureau of Investigation (“FBI”), being duly sworn,

depose and state as follows:

INTRODUCTION

1. I am an “investigative or law enforcement officer of the United States”
within the meaning of 18 U.S.C. § 2510(7), that is, I am an officer of the United States
who is authorized by law to conduct investigations of, and make arrests, for offenses

enumerated in 18 U.S.C. § 2516.

2. I have been an Officer with the Fort Worth Police Department for 25 years

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and a Detective investigating violent crimes for the last six years. In addition, I have been
a Task Force Officer with the FBI Violent Crimes Task Force since December of 2016.
Based on my experience in Hobbs Act investigations and discussions with other law
enforcement officers, I am familiar with the ways in which robbers conduct their
business, including the various means and methods by which robberies are committed.

3. I am familiar with the facts and circumstances of the investigation set forth
below through my personal participation; from discussions with other law enforcement
officers; and review of records and reports. Because this affidavit is being submitted for
the limited purpose of securing arrest warrants, I have not included details of every aspect
of the investigation.

PROBABLE CAUSE

4, On April 9, 2017, an unidentified group of three masked black males
committed a takeover style robbery of the Walgreens Pharmacy located at 833 South
Wilshire Blvd., Burleson, Texas. The suspects zip tied the victim's hands and feet before
stealing narcotics, cash, cigarettes, and approximately 150 booklets of stamps. The
suspects fled the pharmacy in a silver colored truck, which was observed on surveillance
video. The suspects unknowingly took a tracking device that was hidden in the stolen
narcotics. Investigators began searching for the silver truck and following the tracker;
however, officers observed a black Ford F150 bearing Texas Plate JDF0510 that was
linked by the electronic tracking device in the stolen property. The black colored Ford
F150 was first located in the area of South Meadow Street and McCart Avenue, in Fort

Worth. As officers attempted to catch up to the vehicle, the occupants abandoned the

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truck in the drive of 3417 South Meadow St. and fled from officers on foot.

5. Officers located the tracking device taken in the robbery inside of the truck.
The truck was impounded and a state search warrant was obtained to search the vehicle.
Investigators learned that the black Ford F150 was registered to Darien Jefferson (a.k.a.
“Smoke”) and processed the vehicle for evidence. Investigators found all but one bottle
of the stolen narcotics from Walgreens in Jefferson's truck. In addition to the narcotics,
cigarettes, stamps and cash from the pharmacy were recovered. Five cell phones,
including, Kenneth Sauls’(a.k.a. “Smurf’), and Jefferson’s cell phones, a stolen Taurus
Millennium G2 firearm, zip ties, Jefferson's identification card and Sauls’ wallet and
identification card were also seized from the truck. Also found in the truck was a receipt
from Texas Choice Meat Company which had Jefferson’s name on the receipt. Jefferson
reported his truck stolen to the Fort Worth Police approximately five hours after the
robbery.

6. On May 23, 2017, a federal search warrant was executed at 171 St.
Donovan St., Fort Worth, Texas. Dion Clark was at the residence when the search
warrant was executed, and he agreed to go with officers to be interviewed. During the
interview Clark was asked about the April 9, 2017 robbery where he was present at the
house at 3417 South Meadow Street in Fort Worth. Clark advised that a black male
named “Nico” was providing pharmaceuticals to him for sale and that he was under the
impression that “Nico” was obtaining the pharmaceuticals through pharmacy burglaries.
Clark further stated that “Nico” was a friend of Jefferson whom Clark knew as “Smoke.”
Clark advised that “Nico” worked with Jefferson at a meat company.

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7. On the same day (May 23, 2017), an interview was conducted with Sauls.
Sauls denied being involved in the Burleson robbery but admitted that the stolen gun in
the truck was his, and that he left his wallet and cell phone in Jefferson’s truck. Sauls
viewed surveillance photographs from the Burleson Walgreens robbery and positively
identified “Nico” as the person wearing the blue hooded sweatshirt.

8. Investigators contacted Texas Choice Meat Company in Fort Worth and
learned that Jefferson was no longer employed with the company; however, “Nico” was
confirmed to still be a current employee of Texas Choice Meat Company and was
identified by the full name of Nicholas Evans. The physical description given by the
company of Evans matches the physical description given by Clark and Sauls. In
addition, the physical description of Evans matches the physical description of one of the
suspects in the robbery.

9. On June 21, 2017, a Source of Information (“SOI”) contacted investigators
regarding “Nico” and his involvement in several pharmacy robberies. The SOI was
shown a photo of Evans and verified that the photo was of “Nico.” According to the SOI,
Evans confessed to the SOI that he had committed a pharmacy robbery with Sauls and
Jefferson in early April 2017 that had gone bad. The SOI stated that Evans had called the
SOI early one morning in early April sometime between 4am and 6am. The SOI stated
that Evans was whispering on the call and asked to be picked up from the carwash near
the intersection of Crowley Road and Sycamore School Road. Evans informed the SOI
that Sauls had sat in the truck as a lookout, while he (Evans) and Jefferson had gone
inside the pharmacy to commit the robbery. According to the SOI, Evans stated that

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during the robbery they (Evans and Jefferson) had zip-tied the employees, Evans took the
money from the registers, and Jefferson took the money from the safe after setting off the
alarm because the code to the safe had been entered too many times. Evans then told the
SOI that after leaving the pharmacy, the group drove to another location where they had
Jefferson’s truck parked and waiting for them. The group then got into Jefferson’s truck
and were about to back out when the police drove by. Evans told the SOI that once the
police turned around, everyone bailed out of Jefferson’s truck and ran, with Evans
jumping over several fences and dropping a backpack full of money in the middle of his
fleeing from the police. According to the SOI, Evans instructed the SOI to drive back by
the area where Evans had dropped the bag, but they failed to stop because the police were
still at the location; however, Evans still had on his person a wad of one dollar bills that
he had gotten from the register during the robbery. The SOI further informed
investigators that the SOI had seen Evans putting zip-ties together prior to the pharmacy
robberies and that Evans had informed the SOI that everyone was armed during the
Burleson robbery except Evans.

10. The information provided by the SOI regarding the use of zip-ties, the back
pack of money, and the approximate location of where Jefferson’s truck was located is

consistent with evidence obtained the morning of the robbery.

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11. Based upon the foregoing facts and information, I submit there is probable

cause to believe that Evans, Sauls, and Jefferson and others unknown conspired to

interfere with interstate commerce by robbery, in violation of 18 U.S.C. § 1951(a).

STEPHANIE PHILLIPS
Task Force Officer, FBI

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ice, 72 ore day of June 2017,

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2v/L. CURETON
yates Magistrate Judge

Sworn to before me and subscribed in my pres;
at {: $8a.m./6m. at Fort Worth, Texas.

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